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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF ILLINOIS
                           EAST ST. LOUIS DIVISION

VICKI DANIELS,

                    Plaintiff,

            v.

PFIZER, INC., GREENSTONE, LLC,
                                               Case No. 3-25-cv-00188
VIATRIS INC., PRASCO, LLC,
PHARMACIA LLC, PHARMACIA &
UPJOHN COMPANY, LLC, and
WALGREENS CO., INC.,

                    Defendants.



                                 ENTRY OF APPEARANCE
    To the Clerk of Court and all parties of record:
    I hereby enter my appearance as counsel for Greenstone LLC and Viatris Inc.


    Dated: February 7, 2025                       Respectfully submitted,
                                                  /s/ Gary C. Pinter
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